AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the

Eastern District of North Carolina

FRANCIS X, DELUCA )
Plaintiff )
Vv. ) Case No. 5:16-cv-913
NC STATE BOARD OF ELECTIONS, et al. )
Defendant J
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

All Defendants

Date: 12/15/2016 /s/ Alexander McC. Peters

Attorney's signature

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CERTIFICATE OF SERVICE

I hereby certify that I have this day electronically filed the foregoing APPEARANCE OF
COUNSEL with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to all counsel and parties of record.

This the 15" day of December, 2016.

/s/ Alexander McC. Peters
Alexander McC. Peters
Senior Deputy Attorney General

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